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                                  United States District Court
                                   Western District of Texas
                                       Austin Division

United States of America,
       Plaintiff,

        v.                                                    No. A-23-CR-135-RP

Saint Jovite Youngblood,
        Defendant.


                     United States’ Exhibit List for Sentencing Hearing

Exhibit #                                  Description                             Admitted

    1        Jail Call - July 19 Clip
    2        Jail Call - April 2 Clip
    3        Jail Call - May 24 Clip




                                                Respectfully submitted,

                                                Jaime Esparza
                                                United States Attorney

                                                /s/ Daniel D. Guess
                                                Daniel D. Guess
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                                 CERTIFICATE OF SERVICE

       I hereby certify that on the 4th day of December 2024, a true and correct copy of the

foregoing instrument was electronically filed with the Clerk of the Court using the CM/ECF

System which will transmit notification of such filing to the following CM/ECF participants:


Jeff Senter
Attorney at Law
501 Congress Avenue, Suite 150
Austin, TX 78701-3375




                                               By:      /s/ Daniel D. Guess
                                                     Daniel D. Guess
                                                     Assistant United States Attorney
